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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

    In re:                                              §
                                                        §
    Badlands Energy, Inc., et al.1,                     §               Case No. 17-17465 KHT
                                                        §
                            Debtors.                    §               (Chapter 11)
                                                        §
                                                        §               (Jointly Administered)

    Monarch Midstream, LLC,                             §
                                                        §
                            Plaintff,                   §               Adversary Proceeding
                                                        §
    vs.                                                 §               Case No. 17-1429
                                                        §
    Badlands Energy, Inc. and Wapiti Utah               §
    LLC, et al.                                         §
                                                        §
                            Defendants.



              NOTICE OF APPEARANCE UNDER BANKRUPTCY RULE 9010(b)
          AND REQUEST FOR ALL COPIES PURSUANT TO BANKRUPTCY RULE 2002
             AND ALL PLEADINGS PURSUANT TO BANKRUPTCY RULE 3017(a)

             PLEASE TAKE NOTICE that Kasowitz Benson Torres LLP (“Kasowitz”), counsel for

Wapiti Utah, L.L.C. f/k/a Wapiti Newco, L.L.C. (“Utah”), defendant in the above-styled adversary

proceeding, files this Notice of Appearance pursuant to Federal Rule of Bankruptcy Procedure

9010(b) and hereby requests that Utah and Kasowitz receive copies of all pleadings filed or noticed

by any party pursuant to Federal Rules of Bankruptcy Procedure 2002(a) and (b) and 3017(a).




1
  The last four digits of Badland Energy, Inc.’s federal tax identification number are 4105. The other Debtors in
these cases are: Badlands Production Company, Badlands Energy-Utah, LLC, and Myton Oilfield Rentals, LLC.



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       PLEASE TAKE FURTHER NOTICE that pursuant to this Notice of Appearance, copies

should be sent as follows:

                                Kyung S. Lee
                                klee@kasowitz.com
                                R.J. Shannon
                                rshannon@kasowitz.com
                                Kasowitz Benson Torres LLP
                                1415 Louisiana, Suite 2100
                                Houston, Texas 77002
                                Tel: 713-220-8800
                                Fax: 713-222-0843

       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and Bankruptcy Code set forth above, but

also includes, without limitation, orders and notices of any application, motion, petition, pleading,

request, complaint or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex, email or otherwise,

which affect or seek to affect the captioned proceeding.

       PLEASE TAKE FURTHER NOTICE that Utah does not intend that this Notice of

Appearance, or any later appearance or pleading, be deemed or construed to be a waiver of its

right: (i) to have final orders in non-core matters entered only after de novo review by a District

Judge; (ii) to trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case; (iii) to have the District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal; and (iv) to any other rights, claims, actions,

setoffs or recoupments to which it is or may be entitled, in law or in equity, all of which rights,

claims, actions, defenses, setoffs and recoupments Utah expressly reserves.




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 Dated: October 9, 2018            Respectfully submitted,

                                   KASOWITZ BENSON TORRES LLP

                                   /s/ Kyung S. Lee
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                                   Attorneys for Defendant Wapiti Utah, L.L.C.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Notice of Appearance has
been served electronically by the Court’s ECF System on all parties registered to receive service
on 9th day October 2018.

                                                    /s/ Kyung S. Lee
                                                    Kyung S. Lee




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